          Case 1:20-cv-04495-LMM Document 7 Filed 11/10/20 Page 1 of 1



                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                2211 UNTTED STATES COURTHOUSE
                                      75 TED TURNER DR, SW
                                  ATLANTA, GEORGIA 30303-3318
JAMES N.HATTEN                                                     404-215-1600
DISTRICT COURT EXECUTIVE AND
CLERK OF COURT
                                             November 10, 2020




Re: l:20-cv-04495-LMM
     Democratic Party of Georgia vs. Brian Kemp, et al



David Lanser,



        You are listed as counsel in the subject case but do not appear to be admitted to the Northern District
of Georgia.


        N.D. Ga. Local Rule 83.1 requires attorneys who are members of the State Bar of Georgia and
appear in this Court to be members of its bar. Attorneys who are members of the bar in another state and
not Georgia residents must be admitted pro hac vice in order to appear.


        Attorneys applying for full admission to the bar of this Court must mitiate the process through
PACER at www.uacer.gov.


        Attorneys applying for admission pro hic vice must complete the form on our website and have
local counsel file the application electronically m the case m which they wish to appear.

        Please visit the "For Attorneys" tab on the Court's website at www.gand.uscourts.gov for more
detailed information regarding admission requirements and procedures.


        Once you are admitted to the bar of this Court, you will be permitted to file pleadings electronically,
as provided by Local Rule 5.1 and Appendbc H to the Local Rules.

         Your application for full admission or for admission pro hac vice must be received within 10 days
of this notice. If you decide not to apply, you must either (1) file a motion to withdraw and identify therein
the attorney who will represent the party or (2) file a notice of substitution of counsel.

       This is the only notice you will receive. At the expiration of the 10-day time limit, the status of
your admission will be brought to the attention of the assigned judge.

        Please direct questions to 404-215-1600.


                                                   Sincerely yours,


                                                   /s/ Cheryl Goins

                                                   DEPUTY CLERK for
                                                   James N. Hatten
